       Case 1:06-cr-00126-BLW Document 158 Filed 01/17/07 Page 1 of 6




                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


                              )
UNITED STATES OF AMERICA, )                  Case No. CR-06-126-S-BLW
                              )
          Plaintiff,          )              MEMORANDUM DECISION
                              )              AND ORDER
     v.                       )
                              )
DAMON MARSH,                  )
                              )
          Defendant.          )
______________________________)

                               INTRODUCTION

      The Court has before it a motion to sever filed by defendant Damon Marsh.

The motion is fully briefed and at issue. For the reasons expressed below, the

Court will deny the motion.

                                   ANALYSIS

      Defendant Marsh is charged with eleven other defendants in a 196-page

indictment. Count One charges six of the defendants – not including Marsh – with

a Continuing Criminal Enterprise (CCE) spanning 31 years from 1975 to 2006.

The alleged principal object of the CCE was to sell methamphetamine, cocaine,

marijuana, and hashish. Count One lists 98 predicate acts, and then devotes about
         Case 1:06-cr-00126-BLW Document 158 Filed 01/17/07 Page 2 of 6




80 pages to describing the overt acts that support the predicate acts.

      Count Two charges ten of the defendants – including Marsh – with a

conspiracy to do the same acts charged in Count One. Indeed, Count Two simply

refers to Count One and incorporates all of its allegations. The only difference

between the two Counts is that Count One contains some additional allegations to

satisfy the legal elements that distinguish a CCE from a conspiracy.

      Counts Three and Four charge defendants – not including Marsh – with

money laundering, and Counts Five through Eight are forfeiture counts.

      Marsh seeks a severance under Federal Rule of Criminal Procedure 14(a).

That Rule requires severance if a joint trial would prejudice the defendant.

Severance should be granted only if a serious risk exists that a joint trial would

compromise a particular trial right of a defendant or prevent the jury from reliably

determining guilt or innocence. Zafiro v. United States, 506 U.S. 534, 538 (1993).

“Generally, defendants jointly charged are jointly tried.” United States v.

Hernandez, 952 F.2d 1110, 1114 (9th Cir.1991). The test is whether joinder of the

defendants “is so manifestly prejudicial that it outweighs the dominant concern

with judicial economy . . . .” United States v. Doe, 655 F.2d 920, 926 (9th Cir.

1980).

         In assessing whether joinder is prejudicial, it is “of foremost importance”

whether the jury can reasonably be expected to compartmentalize the evidence as it
           Case 1:06-cr-00126-BLW Document 158 Filed 01/17/07 Page 3 of 6




relates to separate defendants in light of its volume and limited admissibility.

United States v. Duran, 189 F.3d 1071 (9th Cir.1999). Joint trials have been

approved in conspiracy cases because much of the evidence would have been

admitted against the defendant even if he was tried separately. United States v

Johnson, 297 F.3d 845, 856 (9th Cir. 2002).1 Moreover, any prejudice that might

arise from joinder is minimized by instructing the jury to consider the evidence

separately as it relates to each defendant. United States v. Catabran, 836 F.2d 453,

461 (9th Cir.1988) ( stating that “[u]ltimately, the question is whether the jury

could follow the court's instructions and appraise the evidence against each

defendant separately”).

       At first glance, it may appear that Marsh is a fringe player unfairly joined to

this massive and lengthy criminal enterprise – after all, he is not a named defendant

in Count One, and is only mentioned sporadically in the description of predicate

and overt acts. The clear focus of this indictment is on defendants other than

Marsh. As Marsh points out, he was only 6 years-old when the conspiracy

allegedly began in 1975. If the case is tried under this indictment, most of the

evidence will involve persons other than him and pertain to events he was not




       1
         Rule of Evidence 801(d)(2)(E) states that a declaration of a co-conspirator, made in
furtherance of the conspiracy charged and during its pendency, is not hearsay. It is therefore
admissible against all the conspirators. See Dutton v. Evans, 400 U.S. 74 (1970).
           Case 1:06-cr-00126-BLW Document 158 Filed 01/17/07 Page 4 of 6




involved with.2

       Nevertheless, the indictment’s allegations against Marsh, however short in

relation to the whole, clearly tie him to the alleged conspiracy. Whether Marsh is

tried jointly or separately, evidence of this conspiracy will be offered by the

Government. The fact that “more evidence [will be] introduced against

. . . co-defendants is insufficient to show that joinder was improper.” United States

v. Matta-Ballesteros, 71 F.3d 754, 771 (9th Cir. 1995). In Matta, the Circuit

rejected defendant’s argument that he was prejudiced by evidence that his co-

defendants engaged in three murders and a marijuana-selling enterprise, none of

which involved him. Id. The Circuit held that the district court’s jury instructions

prevented any prejudice: “Judicial economy justifies reliance on the jury to follow

the instructions of the court that segregate the evidence and limit the applicability

of the evidence to each defendant. Id. (quoting United States v. Vaccaro, 816 F.2d

443, 448 (9th Cir. 1987)).

       At some point, however, the evidence introduced solely against co-

defendants could be so substantial that it would overwhelm the jury’s ability to

compartmentalize it even if so instructed by the Court. See United States v.



       2
           In his briefing, Government’s counsel represents that he has evidence of Marsh’s
greater involvement in the conspiracy than what is pled in the indictment. This evidence has not
been provided to defense counsel or to this Court. Counsel’s reference to it was improper and
will be ignored by the Court.
           Case 1:06-cr-00126-BLW Document 158 Filed 01/17/07 Page 5 of 6




Donaway, 447 F.2d 940, 943 (9th Cir. 1971) (holding severance warranted when

conspiracy claim dismissed and only 50 of 2,300 trial transcript pages related to

defendant). The Court is concerned about that happening here, making this a

difficult motion to resolve. In the final analysis, however, the Court has

confidence that appropriate jury instructions will prevent any prejudice to Marsh.

The Court will be especially sensitive to this issue during trial, and will make every

effort to ensure that no prejudice results. Accordingly, the Court will deny the

motion to sever.3

       To the degree that Marsh seeks reconsideration of the Court’s Speedy Trial

Order moving the trial to September of 2007, the Court denies that request. To the

degree that Marsh seeks reconsideration of his detention order, he can seek that

from the Magistrate Judge or file a proper appeal.




       3
          Marsh makes other arguments relating to antagonistic defenses, Bruton problems, and
possible exculpatory testimony from co-defendants. However, Marsh does not identify the
specifics necessary to prevail on these arguments, and hence is not entitled to severance based on
these arguments. See, e.g., United States v. Seifert, 648 F.2d 557, 563 (9th Cir. 1980)(holding
that defendant seeking severance due to need for co-defendant’s testimony must show that the
co-defendant would in fact testify and that the testimony would favor the defendant); United
States v. Angwin, 271 F.3d 786 (9th Cir. 2001) (holding that defendant seeking severance on basis
of Bruton problem must show that the statement is facially, expressly, clearly, or powerfully
implicating of the defendant); United States v. Tootick, 952 F.2d 1078 (9th Cir. 1991)( holding
that defendant seeking severance due to antagonistic defenses must show that the defenses are
irreconcilable and mutually exclusive).
      Case 1:06-cr-00126-BLW Document 158 Filed 01/17/07 Page 6 of 6




                                   ORDER

     In accordance with the Memorandum Decision set forth above,

     NOW THEREFORE IT IS HEREBY ORDERED, that the motion to sever

(Docket No. 115) is DENIED.

                              DATED: January 17, 2007




                              Honorable B. Lynn Winmill
                              Chief U. S. District Judge
